Case 3:20-cv-00044-NKM-JCH Document 130 Filed 01/03/23 Page 1 of 3 Pageid#: 2324




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division

   LORI FITZGERALD, et al.,

                      Plaintiffs,

           v.                                                    Case No. 3:20-cv-00044-NKM-JCH

   JOSEPH WILDCAT SR., in his official and individual
   capacities, et al.,

                      Defendants.


                           PLAINTIFFS’ UNOPPOSED MOTION
                      FOR LEAVE TO FILE AN AMENDED COMPLAINT

         Plaintiffs, by counsel, pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure

  and Local Civil Rule 11(c)(2), respectfully move for leave to file a Second Amended Complaint.

  Defendants do not oppose this motion. In further support of this motion, Plaintiffs state as follows:

         1.      On October 21, 2022, Plaintiffs filed an Amended Complaint. Dkt. 99. One of the

  central allegations in the Amended Complaint relates to an alleged servicing agreement between

  Defendants Skytrail Servicing Group, LLC, and a tribal entity, Ningodwaaswi, LLC d/b/a Sky

  Trail Cash. See generally Dkt. 99 at ¶¶ 16-27, 79, 101, 102.

         2.      At the time of the filing of the Amended Complaint, Plaintiffs did not have a copy

  of the alleged servicing agreement, which is not publicly available.

         3.      On December 21, 2022, Plaintiffs obtained a copy of the servicing agreement when

  Defendants William Pruett and Skytrail Servicing Group, LLC filed a Motion to Compel

  Arbitration. See Dkt. Nos. 125 & 127.

         4.      Because the document is central to Plaintiffs’ theory of the case and Defendants

  have challenged the sufficiency of the allegations (see, e.g., Dkt. 113 at pg. 17), Plaintiffs believe
Case 3:20-cv-00044-NKM-JCH Document 130 Filed 01/03/23 Page 2 of 3 Pageid#: 2325




  that it is important to incorporate the actual document into an amended complaint—rather than

  relying on the allegations based upon information and belief.

         5.         Although Defendants do not agree with Plaintiffs’ characterizations regarding the

  servicing agreement, they have nonetheless indicated that they do not oppose the relief requested

  in this motion.

         6.         Plaintiffs further submit that they were diligent in their request for leave to amend.

  After receipt of the document on December 21, 2022, Plaintiffs’ counsel emailed on December 27,

  2022, requesting their consent to this motion. Plaintiffs’ counsel also provided a copy of the

  proposed amended complaint on December 28, 2022. Because all of these events occurred over

  the holidays, Defendants understandably did not provide their position until the day of this filing,

  January 3, 2023.

         7.         Under Rule 15(a)(2), a party “amend its pleading only with the opposing party's

  written consent or the court’s leave.” Lang v. Patients Out of Time, 2022 WL 3656952, at *4 (W.D.

  Va. Aug. 24, 2022) (quoting Fed. R. Civ. P. 15(a)(2)). Because Defendants do not oppose the

  request, Plaintiffs submit that it is proper under Rule 15(a)(2). Further, Plaintiffs note that no

  scheduling order has been entered in the case and any delay caused by the amendment will be

  minimal.

         8.         If the Court grants the motion, Plaintiffs further request that the Court deny the

  outstanding motions (Dkt. Nos. 110, 112, 119, 123, 125) without prejudice as moot and set a

  deadline of January 25, 2023, for Defendants to file renewed motions.1


  1 The parties agree that the arbitration motions filed by the Defendants are not mooted by the filing

  of the Second Amended Complaint. However, Plaintiffs believe that it is cleaner to simply restart
  the briefing based on the Second Amended Complaint, especially because Defendants Wildcat,
  Lorzeno, and Reynold’s Motion to Compel Arbitration was filed concurrently with a motion to
  dismiss for lack of subject matter jurisdiction. See Dkt. 110. If the Court prefers otherwise,
  Plaintiffs are prepared to file their oppositions to the arbitration motions (Dkt. Nos. 110 & 125) by


                                                      2
Case 3:20-cv-00044-NKM-JCH Document 130 Filed 01/03/23 Page 3 of 3 Pageid#: 2326




         9.     For the foregoing reasons, Plaintiffs respectfully request the Court to enter the

  attached proposed order.



                                             Respectfully submitted,
                                             PLAINTIFFS


                                             By:     /s/ Kristi C. Kelly
                                             Kristi Cahoon Kelly, VSB #72791
                                             Andrew J. Guzzo, VSB #82170
                                             KELLY GUZZO, PLC
                                             3925 Chain Bridge Road, Suite 202
                                             Fairfax, Virginia 22030
                                             Telephone: (703) 424-7572
                                             Facsimile: (703) 591-0167
                                             Email: kkelly@kellyguzzo.com
                                             Email: aguzzo@kellyguzzo.com
                                             Counsel for Plaintiffs




  January 9, 2023, which is the current deadline for the Plaintiffs’ opposition to the Motion to
  Compel Arbitration filed by Defendants Wildcat, Lorzeno, and Reynolds.


                                                3
